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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA




                                                    CIVIL ACTION NO.

                     vs.




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